                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MATTHEW WHITFIELD,                                  :
                                                     :   Case No. ______________
         Plaintiff,                                  :
                                                     :   JURY TRIAL DEMANDED
         v.                                          :
                                                     :   COMPLAINT FOR VIOLATION OF THE
 KADMON HOLDINGS, INC., TASOS G.                     :   SECURITIES EXCHANGE ACT OF 1934
 KONIDARIS, HARLAN W. WAKSAL,                        :
 EUGENE BAUER, DAVID E. COHEN,                       :
 ARTHUR KIRSCH, NANCY MILLER-                        :
 RICH, and CYNTHIA SCHWALM,                          :
                                                     :
         Defendants.                                 :

       Plaintiff, by his attorneys, for this complaint against defendants, alleges the following upon

personal knowledge with respect to himself, and upon information and belief based upon the

investigation of counsel as to all other allegations herein:

                                     NATURE OF ACTION

       1.       On September 7, 2021, Kadmon Holdings, Inc. (“Kadmon” or the “Company”)

entered into an agreement and plan of merger (the “Merger Agreement”) with Sanofi and Latour

Merger Sub, Inc. (“Merger Sub”) (the “Proposed Merger”).

       2.       Under the terms of the Merger Agreement, Kadmon’s stockholders will receive

$9.50 in cash per share.

       3.       On October 4, 2021, defendants filed a proxy statement (the “Proxy”) with the U.S.

Securities and Exchange Commission (the “SEC”).

       4.       As alleged herein, the Proxy fails to disclose material information regarding the

Proposed Merger, and defendants violated Sections 14(a) and 20(a) of the Securities Exchange

Act of 1934 (the “Exchange Act”).
                                 JURISDICTION AND VENUE

       5.        This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the Exchange Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the

Exchange Act and Rule 14a-9.

       6.        This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.        Venue is proper under 28 U.S.C. § 1391(b) because a portion of the transactions

and wrongs complained of herein occurred in this District.

                                          THE PARTIES

       8.        Plaintiff is and has been continuously throughout all relevant times the owner of

Kadmon common stock.

       9.        Defendant Kadmon is a Delaware corporation. Kadmon’s common stock is traded

on the NASDAQ under the ticker symbol “KDMN.”

       10.       Defendant Tasos G. Konidaris is Chairman of the Board of Directors of Kadmon

(the “Board”).

       11.       Defendant Harlan W. Waksal is President, Chief Executive Officer, and a member

of the Board.

       12.       Defendant Eugene Bauer is a member of the Board.

       13.       Defendant David E. Cohen is a member of the Board.

       14.       Defendant Arthur Kirsch is a member of the Board.

       15.       Defendant Nancy Miller-Rich is a member of the Board.




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       16.     Defendant Cynthia Schwalm is a member of the Board.

       17.     Defendants identified in ¶¶ 10-16 are referred to herein as the “Individual

Defendants.”

                              SUBSTANTIVE ALLEGATIONS

       18.     Kadmon is a biopharmaceutical company that discovers, develops, and delivers

transformative therapies for unmet medical needs.

       19.     On September 7, 2021, Kadmon entered into the Merger Agreement.

       20.     The press release announcing the Proposed Merger provides as follows:

       Sanofi has entered into a definitive merger agreement with Kadmon Holdings, Inc.
       (NASDAQ: KDMN) a biopharmaceutical company that discovers, develops, and
       markets transformative therapies for disease areas of significant unmet medical
       needs. The acquisition supports Sanofi’s strategy to continue to grow its General
       Medicines core assets and will immediately add Rezurock(TM) (belumosudil) to
       its transplant portfolio. Rezurock is a recently FDA-approved, first-in-class
       treatment for chronic graft-versus-host disease (cGVHD) for adult and pediatric
       patients 12 years and older who have failed at least two prior lines of systemic
       therapy.

       Shareholders of Kadmon common stock will receive $9.50 per share in cash, which
       represents a total equity value of approximately $1.9 billion (on a fully diluted
       basis). The Sanofi and Kadmon Boards of Directors unanimously approved the
       transaction.

       “We are transforming and simplifying our General Medicines business and have
       shifted our focus on differentiated core assets in key markets,” said Olivier
       Charmeil, Executive Vice President General Medicines. “We are thrilled to add
       Kadmon's Rezurock to our well-established transplant portfolio. Our existing scale,
       expertise, and relationships in transplant create an ideal platform to achieve the
       full potential of Rezurock, which will address the significant unmet medical needs
       of patients with chronic graft-versus-host disease around the world.”

       “We are excited that Sanofi has acknowledged the value of Rezurock and the deep
       potential of our pipeline,” said Harlan Waksal, M.D., President and Chief
       Executive Officer, Kadmon. “By leveraging Sanofi’s global resources and long-
       standing expertise in developing and commercializing innovative medicines,
       Rezurock is now well positioned for global accessibility, faster. I want to thank the
       entire Kadmon team, including management and the Board of Directors, and the




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Sanofi organization, for their ongoing commitment to patients and their
caregivers.”

Sanofi’s transplant business mainly consists of Thymoglobulin(R) (anti-thymocyte
globulin), a polyclonal, anti-human thymocyte antibody preparation that acts as a
broad      immunosuppressive       and     immunomodulating        agent     and
Mozobil(R) (plerixafor), a hematopoietic stem cell mobilizer. Both products are
among General Medicines core assets and are currently registered and marketed in
more than 65 countries.

In July 2021, the FDA approved Rezurock for the treatment of adult and pediatric
patients 12 years and older with cGVHD after the failure of at least two prior lines
of systemic therapy. Rezurock was launched in August in the United States. It is
the first and only approved small molecule therapy that inhibits the Rho-associated
coiled-coil kinase 2 (ROCK2), a signaling pathway that modulates inflammatory
response and fibrotic processes. Sanofi will work closely with regulatory
authorities across different geographies to ensure that patients suffering from
cGVHD can benefit from belumosudil treatment as early as possible. Kadmon is
also developing Rezurock for the treatment of diffuse cutaneous systemic sclerosis,
with an open-label Phase 2 clinical trial currently ongoing.

Kadmon’s pipeline includes drug candidates for immune and fibrotic diseases as
well as immuno-oncology therapies.

The transaction is expected to be modestly dilutive to Sanofi’s EPS in 2022.

Transaction Terms

Under the terms of the merger agreement, holders of Kadmon’s common stock will
receive $9.50 per share in an all-cash transaction, reflecting a total equity value of
Kadmon of approximately $1.9 billion. The offer price represents a premium of
79% over the closing price on September 7, 2021 and a premium of approximately
113% over the 60 trading days volume weighted average price.

The consummation of the transaction is subject to customary closing conditions,
including the approval of holders of a majority of the outstanding shares of Kadmon
voting stock, the expiration or termination of the waiting period under the Hart-
Scott-Rodino Antitrust Improvements Act of 1976, and other customary conditions.
Following the successful completion of the merger, a wholly owned subsidiary of
Sanofi will merge with Kadmon and the outstanding Kadmon shares will receive
$9.50 per share in cash. Sanofi plans to fund the transaction with available cash
resources. Subject to the satisfaction or waiver of customary closing conditions,
Sanofi expects to complete the acquisition in the fourth quarter of 2021.




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       Advisors

       Weil, Gotshal & Manges LLP is acting as legal counsel to Sanofi. Cantor Fitzgerald
       & Co. and Moelis & Company LLC are acting as exclusive financial advisors to
       Kadmon in the transaction, while DLA Piper LLP (US) is acting as legal counsel.

       21.     On October 4, 2021, defendants filed the Proxy, which fails to disclose material

information regarding the Proposed Merger.

                                       Financial Projections

       22.     The Proxy fails to disclose material information regarding Kadmon’s financial

projections, specifically: (i) net income; and (ii) the line items used to calculate the financial

projections.

       23.     The disclosure of projected financial information is material because it provides

stockholders with a basis to project the future financial performance of a company, and allows

stockholders to better understand the financial analyses performed by the company’s financial

advisor in support of its fairness opinion.

                                         Financial Analyses

       24.     The Proxy fails to disclose material information regarding the financial analyses

conducted by Cantor Fitzgerald & Co. (“Cantor”) and Moelis & Company LLC (“Moelis”). When

a banker’s endorsement of the fairness of a transaction is touted to shareholders, the valuation

methods used to arrive at that opinion as well as the key inputs and range of ultimate values

generated by those analyses must also be fairly disclosed.

       25.     Regarding Cantor’s Discounted Cash Flow Analysis, the Proxy fails to disclose: (i)

the inputs and assumptions underlying the discount rates and perpetuity growth rates; (ii) the

terminal values; (iii) cash, debt, convertible preferred stock, and other liabilities; and (iv) the

number of fully-diluted shares of common stock outstanding of Kadmon.




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          26.   Regarding Moelis’ Discounted Cash Flow Analysis, the Proxy fails to disclose: (i)

the inputs and assumptions underlying the discount rates and perpetuity growth rates; (ii) the

terminal values; and (iii) net cash balance.

          27.   Regarding Moelis’ price targets analysis, the Proxy fails to disclose: (i) the price

targets; and (ii) the sources of the price targets.

          28.   Regarding Moelis’ premiums paid analysis, the Proxy fails to disclose: (i) the

transactions; and (ii) the premiums paid in the transactions.

                                               COUNT I

Claim Against the Individual Defendants and Kadmon for Violation of Section 14(a) of the
                             Exchange Act and Rule 14a-9

          29.   Plaintiff repeats and realleges the above-referenced allegations as if fully set forth

herein.

          30.   The Individual Defendants disseminated the false and misleading Proxy, which

contained statements that, in violation of Section 14(a) of the Exchange Act and Rule 14a-9, in

light of the circumstances under which they were made, failed to state material facts necessary to

make the statements therein not materially false or misleading.

          31.   Kadmon is liable as the issuer of these statements.

          32.   The Proxy was prepared, reviewed, and/or disseminated by the Individual

Defendants. By virtue of their positions within the Company, the Individual Defendants were

aware of this information and their duty to disclose this information in the Proxy.

          33.   The Individual Defendants were at least negligent in filing the Proxy with these

materially false and misleading statements.

          34.   The omissions and false and misleading statements in the Proxy are material in that

a reasonable stockholder will consider them important in deciding how to vote on the Proposed



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Merger.

          35.   A reasonable investor will view a full and accurate disclosure as significantly

altering the total mix of information made available in the Proxy and in other information

reasonably available to stockholders.

          36.   The Proxy is an essential link in causing plaintiff to approve the Proposed Merger.

          37.   Accordingly, defendants violated Section 14(a) of the Exchange Act and Rule 14a-

9.

          38.   Plaintiff is threatened with irreparable harm.

                                             COUNT II

Claim Against the Individual Defendants for Violation of Section 20(a) of the Exchange Act

          39.   Plaintiff repeats and realleges the above-referenced allegations as if fully set forth

herein.

          40.   The Individual Defendants acted as controlling persons of Kadmon within the

meaning of Section 20(a) of the Exchange Act as alleged herein.

          41.   Due to their positions as officers and/or directors of Kadmon and participation in

and/or awareness of the Company’s operations and/or intimate knowledge of the false statements

contained in the Proxy, they had the power to influence and control and did influence and control,

directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that plaintiff contends are false and misleading.

          42.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy alleged by plaintiff to be misleading prior to and/or shortly after these

statements were issued and had the ability to prevent the issuance of the statements or cause them

to be corrected.




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       43.     Each of the Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company, and, therefore, is presumed to have had the power to

control and influence the particular transactions giving rise to the violations as alleged herein, and

exercised the same.

       44.     The Proxy contains the unanimous recommendation of the Individual Defendants

to approve the Proposed Merger. They were thus directly involved in the making of the Proxy.

       45.     Accordingly, the Individual Defendants violated Section 20(a) of the Exchange

Act.

       46.     The Individual Defendants had the ability to exercise control over and did control

a person or persons who have each violated Section 14(a) of the Exchange Act and Rule 14a-9, by

their acts and omissions as alleged herein.

       47.     These defendants are liable pursuant to Section 20(a) of the Exchange Act.

       48.     Plaintiff is threatened with irreparable harm.

                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief against defendants as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from consummating the Proposed Merger;

       B.      In the event defendants consummate the Proposed Merger, rescinding it and setting

it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to disseminate a Proxy that does not contain

any untrue statements of material fact and that states all material facts required in it or necessary

to make the statements contained therein not misleading;




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       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,

as well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                          JURY DEMAND

       Plaintiff requests a trial by jury on all issues so triable.

 Dated: October 20, 2021                                 GRABAR LAW OFFICE

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